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Appendix B

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
Souter _ DIVISION

Gd,
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ORIGINAL COMPLAINT

 

 

 
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